268 F.2d 212
    Leo Peter SCHNEIDER et al., Appellants,v.Lawrence W. BRAHMAN, Committee for the person and estate ofCatherine Elizabeth Schneider, Appellee.
    Nos. 13478, 13744.
    United States Court of Appeals Sixth Circuit.
    June 15, 1959.
    
      Appeal from the United States District Court for the Eastern District of Kentucky, Covington; MacSwinford, Judge.
      Lester &amp; Riedinger, Newport, Ky., Orie S. Ware, Covington, Ky., for appellants.
      Vincent &amp; Vincent, Covington, Ky., William J. Wise, Cincinnati, Ohio, for appellees.
      Before SIMONS and ALLEN, Circuit Judges, and CHOATE, District Judge.
      PER CURIAM.
    
    
      1
      The above cause having come to be heard upon the briefs and oral arguments of the parties, and the Court being of the opinion that no substantial issue is presented as to the obligations of the appellants for the relief of the appellee, who is now an incompetent, and the Court suggesting that such needs could reasonably be provided by stipulation of the parties entered into in the State court in Civil Action 2758 of the Campbell Circuit Court of Campbell County, Kentucky, and,
    
    
      2
      Now being advised that such stipulation has been entered into, filed in the State court proceeding, in the said Civil Action in the Circuit Court of the said County, and approved by a judge thereon,
    
    
      3
      It Is Hereby Ordered that the judgment of the District Court be, and it is hereby reversed, and the cause remanded to the District Court for substitution of appellee for Catherine Elizabeth Schneider, the party plaintiff below, and that following such substitution the above cause be dismissed with prejudice.
    
    